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   UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA

                                CHARLOTTESVILLE DIVISION


  ELIZABETH SINES, ET AL.,                                      Case No. 3:17-cv-00072-NKM

  Plaintiffs,                                                   Hon. Norman K. Moon
  v.

  JASON KESSLER, ET AL.,

  Defendants.


                     DEFENDANT MICHAEL PEINOVICH’S REPLY
                MEMORANDUM IN FURTHER SUPPORT OF HIS OBJECTIONS
                   TO MAGISTRATE JUDGE’S MARCH 22, 2018 ORDER

         In accordance with 28 U.S.C. § 636(b)(1) and Rule 72(a) of the Federal Rules of Civil

  Procedure, Defendant Michael Peinovich respectfully submits the following reply memorandum

  in further support of his objections to certain portions of Magistrate Judge Hoppe’s order issued

  on March 22, 2018 denying Peinovich’s motion to restrain Roberta Kaplan, Esq. and Kaplan and

  Company LLP from improper and unethical extrajudicial statements and for sanctions. This reply

  will address plaintiffs’ memorandum in opposition to Peinovich’s objections.

         I.       Plaintiffs’ Opposition Memorandum Rests on False Factual Predicates.

         Plaintiffs begin their opposition memorandum by stating: “Mr. Peinovich knowingly

  conspired with the other defendants to plan, supervise, and execute a brutal campaign of racial

  and religious terror in Charlottesville, Virginia.” Such unproven, hyperbolic, sensationalist

  allegations should not be accepted as the factual basis for resolving the ethical issues Peinovich’s

  motion to restrain raises. These absurd claims are not only inappropriate in this context, they




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  underscore the fact that plaintiffs’ strategy in this case relies on a “big lie” technique of constant

  repetition of extreme, bloodcurdling allegations designed to elicit an emotional response. The

  pursuit of this strategy, which relies on propaganda rather than evidence, sheds some light on

  Roberta Kaplan’s unusual and unethical behavior. Plaintiffs’ allegations are not only unproven

  but manifestly untrue. In filing their SLAPP suit against Peinovich and others as a lawfare tactic

  to harass, silence and intimidate, plaintiffs improperly disregarded compelling evidence, known

  to them, that Peinovich was never involved in organizing violence against the plaintiffs or

  anyone else. This evidence includes:

             •    Independent Review of the 2017 Protest Events in Charlottesville, prepared by
                 Timothy Heaphy of Hunton & Williams LLP and his Review Team and published
                 on November 24, 2017 (available at this link: http://apps.washingtonpost.com/g/
                 documents/local/report-reviewing-protest-related-events-in-charlottesville/2654/),
                 an independent review for which Mr. Heaphy and his team reviewed over
                 500,000 documents, 2,000 photos, and 300 hours of video footage, states the
                 following on page 78:

                 Unite The Right speaker Mike Enoch [Peinovich] was not involved in the planning for the event, but
                 he noted that, because it was “one of the largest” Alt Right events ever held, rally planners
                 recognized the need to be organized.


                 Nowhere in the exhaustive 212 page Heaphy Independent Review do the authors
                 remotely suggest that Peinovich had any involvement whatever in organizing
                 violence against anyone.    Plaintiffs deliberately and improperly ignored the
                 Heaphy Independent Review in including Peinovich in their lawfare complaint.

             •   Plaintiffs in their complaint and amended complaint cited a misleadingly
                 excerpted segment from a speech Peinovich gave at the August 12, 2017 events
                 described in the complaints. Here is a video of Peinovich’s entire speech: https://
                 www.youtube.com/watch?v=siPD7O1vAzQ. As the video makes clear, although
                 Peinovich was rightfully critical of the violence threatened and inflicted by the
                 counter-protestors, his speech emphasized the importance of the pro-monument
                 demonstrators peacefully exercising their First Amendment rights.



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         II.      Peinovich Presented Ample Evidence of Ms. Kaplan’s Ethical Violations.

         Plaintiffs’ argument that Ms. Kaplan’s statements and actions “have all been consistent

  with rules and norms of attorney speech,” (Opp. Memo. at 2), has two basic aspects. The first is

  that “Mr. Peinovich does not identify any legal rule that Judge Hoppe misapplied in concluding

  that Ms. Kaplan has complied with all all applicable standards of attorney speech. Instead he . . .

  tacitly conced[es] that Virginia’s rules (and highly relevant precedents) are the only rules that

  apply here and do not support his position.” (Opp. Memo. at 4-5).            The second is that

  Peinovich’s contention is “unsubstantiated” that Ms. Kaplan has taken actions aimed at turning

  the public, including the public in the Western District of Virginia, against him and the other

  defendants. (Opp. Memo. at 4). Both aspects are flagrantly incorrect.

         Peinovich did not concede, tacitly or otherwise, that Virginia’s ethical rules are the only

  applicable rules. As a matter of fact, even Judge Hoppe did not assert this. Peinovich’s position

  has been and remains that while this Court will look initially and primarily to the Virginia ethical

  rules, in the exercise of its inherent authority it is not circumscribed from supplementing or

  departing from those rules where basic fairness to the litigants requires it. The contrary view,

  which plaintiffs advocate, leads to dangerous absurdities.       It would leave persons such as

  plaintiffs completely free to use their enormous public relations networks to generate emotional,

  sensationalistic, and prejudicial pretrial publicity. There must be some limits on a party’s actions

  in generating pretrial publicity in civil cases, and the New York and ABA versions of Rule 3.6

  provide appropriate sources of guidance.

         Plaintiffs’ assertion that Peinovich’s claims are unsubstantiated is equally off the rails.

  Peinovich has substantiated at length and in detail Ms. Kaplan’s improper actions in generating



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  sensationalistic pretrial publicity, including falsely linking defendants     -- which of course

  includes Peinovich – to Nikolas Cruz, the suspected murderer of 17 school children, stirring up

  religious animus against Peinovich and the other defendants by characterizing them as “modern

  day Hamans,” linking Peinovich and the other defendants to offensive Internet posts by someone

  or some entity calling himself, herself, or itself the “American Identitarian Party,” an entity or

  person with which Peinovich had no association whatever and that may have been a troll or a

  shill that is hostile to the defendants, and analogizing the defendants to anti-abortion protestors

  who murder doctors.

         Plaintiffs have never attempted to defend these actions because they are indefensible.

  Instead, plaintiffs repeat over and over the bland and false statement that Ms. Kaplan has merely

  “publicly explained the factual background, legal theory, relief sought, and broader context of

  this litigation.” (Opp. Memo. at 2). Insinuating a nonexistent connection between Peinovich and

  Nikolas Cruz cannot be explained by any of these things, and can only be understood as a blatant

  attempt to taint the public mood against Peinovich and other defendants. Judge Hoppe’s ruling

  below has given Ms. Kaplan and other plaintiffs’ counsel carte blanche to continue these

  outrageous actions. It sets an unfortunate precedent for other cases. At a minimum, Ms. Kaplan

  should be admonished that her actions are inappropriate and should not be continued.

         As Peinovich noted in his initial memorandum, the Magistrate’s statement that “’nothing

  presented thus far suggests’ counsel’s statements ‘present a reasonable likelihood of tainting the

  jury pool’” unfairly places a virtually impossible burden on Peinovich and the other defendants.

  We live now in a new age of social media, of tweets and retweets, of postings on Facebook and

  similar media that are circulated and recirculated in unknown ways.      In this new environment,



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  the appropriate approach is not to place an impossible burden on Peinovich but to ask whether

  Ms. Kaplan’s pretrial publicity campaign actions raise significant risks of prejudicing Peinovich

  and the other defendants. This is surely the case, given the inflammatory nature of her actions,

  the nature of the media she has chosen to use, and the issues involved. She should, accordingly,

  be restrained.

                                              CONCLUSION

         For the reasons stated, Peinovich respectfully requests that the Magistrate’s March 22,

  2018 order be reversed and that Ms. Kaplan be instructed to cease her unethical and prejudicial

  extrajudicial statements, as manifested by her actions described in Peinovich’s initial motion and

  reply memorandum.



  Dated: April 26, 2018.



                                                              Respectfully submitted,




                                                              Michael Peinovich, Pro Se




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                                  CERTIFICATE OF SERVICE

  On this 26th day of April, 2018, I Michael Peinovich certify that I served electronically or mailed

  copies of this reply memorandum to:


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                                                               _________________

                                                               Michael Peinovich




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